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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  UNITED STATES OF AMERICA,

                                            Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE


                                           V.                                    CASE NUMBER:        CV 120-156

                  $383,456.21 IN U.S. CURRENCY SEIZED FROM
                  WELLS FARGO,

                                            Defendant.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, in accordance with the Order dated May 25, 2021 granting the United States of America's
                    Motion for Final Order of Forfeiture (hereinafter referred to as "USA"), Judgment is hereby entered
                    pursuant to the Federal Rules of Civil Procedure Rule 58 with the following terms and conditions:
                    1. The Defendant Currency is hereby forfeited to the USA, and all right, title, claim and interest to
                    the Defendant Currency by the Claimants and their heirs, successors, and assigns, and all other
                    persons and entities are vested in the USA;
                    2. The Claimants and their heirs, successors, and assigns, and all other persons and entities having
                    any right, title, claim to or interest in the Defendant Currency are forever barred from asserting a
                    claim against the Defendant Currency; and
                    3. The United States Marshals Service or an authorized designee shall make arrangements to
                    dispose of the Defendant Currency according to law and regulatory procedures.
                       This case stands closed.




           05/25/2021                                                          John E. Triplett, Clerk of Court
           Date                                                                Clerk



                                                                               (By) Deputy Clerk
GAS Rev 10/2020
